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Attorneys for Plaintiffs


                 IN AND FOR THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


LISA THOMAS, an individual;

       Plaintiffs,                                    COMPLAINT

v.

KNIGHT ADJUSTMENT BUREAU, a Utah                      Civil No.
Corporation, STEPHEN G. KNIGHT an
individual and MIKE SANCHEZ an                        Judge
individual;
       Defendants.



       Plaintiff, Lisa Thomas (“Thomas”), by its undersigned attorneys claims against

Defendants, as follows:

       1.      This is an action for damages against the defendant for violations of the Fair

Credit Reporting Act (FCRA), 15 U.S.C. §§ 1681 et. seq., the Fair Debt Collections

Practices Act 15 U.S.C. §§ 1691 et. seq., the Utah Consumer Sales Practices Act and

common law claims.

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                           SUBJECT MATTER JURISDICTION

       2.     Subject matter jurisdiction in this Court is proper pursuant to 15 U.S.C.

§1681p and 28 U.S.C. §§ 1331 & 1337 (federal question jurisdiction).

       3.     This Court has supplemental jurisdiction to hear related state law claims

pursuant to 28 U.S.C. § 1367.

                      PARTIES AND PERSONAL JURISDICTION

       4.     Plaintiff is a resident of the State of Utah.

       5.     Defendant, Knight Adjustment Bureau (“KAB”) is a Utah corporation located

in Murray, Utah.

       6.     Through information and belief, KAB is owned, operated, managed and

controlled by Defendant Stephen G. Knight who transacts business in the State of Utah.

       7.     Through information and belief, Defendant Mike Sanchez claims to be a

collection’s manager at KAB who has contacted Plaintiff numerous times.

       8.     Defendants are subject to the jurisdiction and venue of this Court.

                          FACTS COMMON TO ALL CAUSES

       9.     In 2006, Thomas had an appointment to meet with a therapist, Marilyn Little,

relating to personal matters of Thomas’ daughter.

       10.    Thomas cancelled the appointment by leaving a voice mail and later

contacted Little’s office to confirm that they knew of the cancellation.

       11.    Little’s office agreed to the cancellation without fee or charge.




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       12.     Through information and belief, three years later, in 2009, Little retired and

turned over all of her collection matters of $45 or more to KAB, including the Thomas

account.

       13.     Upon being contacted by KAB, Thomas disputed the debt both orally and in

writing.

       14.     Defendants continued to relentlessly harass and annoy Plaintiff in an attempt

to collect a debt that was not owed and that had been at all times disputed by Thomas.

       15.     Hoping to stop the harassment, Thomas paid the debt.

       16.     Defendants reported the debt to the three major credit reporting agencies.

       17.     Defendant KAB regularly and in the ordinary course of business furnishes

information to consumer reporting agencies about consumer transactions or experiences

with any consumer.

       18.     Defendant KAB is a furnisher of information as contemplated by the Federal

Fair Credit Reporting Act, 15 U.S.C. § 1681s-2(a) & (b).

       19.     Defendant KAB has been reporting derogatory and inaccurate statements

and information relating to Plaintiff and Plaintiff’s credit history to third parties (hereinafter

“inaccurate information”).

       20.     The inaccurate information includes, but is not limited to, accounts with

Defendant’s and personal identifying information.

       21.     The inaccurate information negatively reflects upon the Plaintiff, Plaintiff’s

credit repayment history, Plaintiff’s financial responsibility as an alleged debtor, and

Plaintiff’s creditworthiness.


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        22.   The inaccurate information consists of accounts and/or tradelines relating to

a debt that was never owed by Plaintiff.

        23.   Plaintiff has repeatedly disputed the inaccurate information concerning the

account with Defendants, as well as with various credit reporting agencies.

        24.   Plaintiff has also disputed the alleged debt owed to Defendants with all of the

credit reporting agencies, who in turn sent information to the Defendants.

        25.   Defendants failed to conduct timely and reasonable investigations after being

notified by credit reporting agencies of Plaintiff’s disputes.

        26.   Defendants have willfully continued to report the inaccurate information to

various credit reporting agencies.

        27.   Despite Plaintiff’s efforts, Defendants have deliberately, willfully, intentionally,

recklessly, and negligently failed to perform reasonable reinvestigations of the disputes.

        28.   Despite Plaintiff’s efforts, Defendants have failed to remove the inaccurate

information, thus causing Defendant to be unable to refinance her home.

        29.   Defendants have failed to accurately report the results of any investigations

to all credit reporting agencies.

        30.   Defendants have continued to report the inaccurate information about the

Plaintiff.

        31.   Plaintiffs’ credit reports and files have been obtained from credit reporting

agencies and have been reviewed many times by prospective and existing credit grantors

and extenders of credit, and the inaccurate information reported by Defendants have been

a substantial factor in precluding Plaintiff from applying for or from receiving known and


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unknown credit offers and opportunities and from receiving favorable terms in financing

and interest rates in credit offers that ultimately were made.

         32.   As a result of Defendant’s conduct, Plaintiff has suffered and continues to

suffer actual damages and serious financial and pecuniary harm arising from monetary

losses relating to credit denials, loss/use of funds, loss and credit and loan opportunities,

excessive and/or elevated interest rates and finance charges and out-of-pocket expenses.

         33.   As a result of Defendants conduct, Plaintiff has suffered actual damages in

the form of financial and dignitary harm arising from the injury to credit rating and

reputation, and Plaintiff will continue to suffer the same for an indefinite time in the future,

all to Plaintiffs detriment and loss.

         34.   As a result of Defendants conduct, Plaintiff has suffered a decreased credit

score.

         35.   At all times pertinent hereto, Defendants were acting by and through its

agents, servants, and/or employees, who were acting within the course and scope of their

agency or employment and under the direct supervision and control of Defendants.

         36.   At all times pertinent hereto, the conduct of Defendants was malicious,

intentional, willful, reckless, and in grossly negligent disregard for federal and state laws

and the rights of Plaintiff stated therein.

         37.   Defendant’s actions violate the Fair Credit Reporting Act.

         38.   Defendants also know that Plaintiff is a single mother that Plaintiff’s husband

died in a tragic accident and that Plaintiff is the sole provider of income in the home,

making defendants acts unconscionable.



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                                   CAUSES OF ACTION

                     COUNT ONE: FAIR CREDIT REPORTING ACT

       39.    Plaintiff incorporates the foregoing paragraphs as though the same were set

forth at length herein.

       40.    The acts of Defendants constitute willful violations of the FCRA, in violation

of 15 U.S.C. § 1681n(a).

       41.    In the alternative, the acts of Defendants constitute negligent violations of the

FCRA, in violation of 15 U.S.C. § 1681o(a).

       42.    Defendant’s violations of the FCRA include, but are not limited to, filing false

information and failing to properly investigate, review and correct false credit information

upon notice of dispute as required by 15 U.S.C. § 1681s 2(a)(1)(B).

       43.    As a result of said actions, Plaintiff is entitled to an award of actual, statutory,

and punitive damages, as well as an award of costs and attorney fees.

                              COUNT TWO: DEFAMATION

       44.    Plaintiff incorporates the foregoing paragraphs as though the same were set

forth at length herein.

       45.    At all times pertinent hereto, Defendants have published statements both

orally and through writing to various credit reporting agencies, collection agencies and/or

attorneys that are false and negative representations concerning Plaintiff’s credit

information and history.




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       46.    Defendants have published these statements each time Plaintiff has notified

Defendants and credit reporting agencies of Plaintiff’s dispute and each time a credit

reporting agency has reinvestigated the dispute.

       47.    The statements made by Defendants are false.

       48.    Defendants have published these statements to at least three credit reporting

agencies: (1) Equifax Information Services, LLC; (2) Experian Information Systems, Inc.;

and (3) Trans Union, LLC.

       49.    Defendants knew that the statements were false as Plaintiff had notified them

that the statements were false as stated above, and Defendants continue to publish such

statements.

       50.    The written statements and publications constitute libel per se.

       51.    The oral statements constitute slander per se.

       52.    Despite repeated notices from Plaintiff, Defendant has acted with malice by

failing to communicate the information provided in Plaintiff’s disputes to credit reporting

agencies in Defendant responses to the reinvestigation attempts of such credit reporting

agencies.

       53.    The statements were also published to various users of information, including

but not limited to creditors to whom Plaintiff applied for credit.

       54.    The conduct of Defendants was a direct and proximate cause, as well as a

substantial factor, in bringing about serious injuries, damages, and harm to Plaintiff that are

outlined more fully above and, as a result, Defendant is liable to compensate Plaintiff for

the full amounts of actual, compensatory and punitive damages, as well as such other

relief permitted by law.

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                             COUNT THREE: NEGLIGENCE

        55.    Plaintiff incorporates the foregoing paragraphs as though the same were set

forth at length herein.

        56.    Defendants’ negligence consists of violating the FCRA as set forth above.

        57.    Defendants’ negligence consists of failing to conduct an investigation of the

inaccurate information that Plaintiff disputed.

        58.    Defendants’ negligence consists of failing to review all relevant information

concerning Plaintiff’s account that was sent to Defendants.

        59.    Defendants’ negligence consists of failing to report the results of

investigations to the relevant consumer reporting agencies.

        60.    Defendants’ negligence consists of failing to report the inaccurate status of

the inaccurate information to all credit reporting agencies, including those agencies to

whom Defendants originally furnished the information, despite requests by Plaintiff to do

so.

        61.    Defendants’ negligence consists of failing to delete or correct the inaccurate

information.

        62.    Defendants’ negligence consists of failing to note the disputed status of the

inaccurate information on all credit reports.

        63.    As a result of Defendants conduct, Plaintiff sustained and continues to

sustain the losses and damages as set forth above.

        64.    The conduct of Defendants was a direct and proximate cause, as well as a

substantial factor, in bringing about serious injuries, damages, and harm to Plaintiff that are


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outlined more fully above and, as a result, Defendants are liable to compensate the Plaintiff

for the full amount of actual and compensatory damages, as well as such other relief

permitted under the law.

              COUNT FOUR: UTAH CONSUMER SALES PRACTICES ACT

        65.    Plaintiff incorporates the foregoing paragraphs as though the same were set

forth at length herein.

        66.    Defendants are in violation of the Utah Consumer Sales Practices Act, Utah

Code Annotated § 13-11-1 et. seq. (“the Act”).

        67.    Plaintiff is a “consumer” within the meaning of the Act.

        68.    Defendants are “suppliers” within the meaning of the Act and as have been

determined by this Court.

        69.    Defendants have committed deceptive and unconscionable acts and

practices prohibited by the Act by pursuing the collection of a debt that was not owed.

        70.    Defendants have committed and continue to commit deceptive and

unconscionable acts and practices prohibited by the Act by reporting a debt that was not

owed.

                                       JURY DEMAND

        71.    Plaintiff demands a trial by jury.

                                   PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays that judgment be entered against Defendant and in

favor of Plaintiff, as follows:



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   a)    That Plaintiff be awarded statutory, actual, general, special and punitive

         damages;

   b)    That Plaintiff be awarded the costs of litigation including a reasonable

         attorney fee;

   c)    That the Court declare all defenses raised by defendants to be insufficient;

   d)    That the Court issue an order directing that Defendant immediately delete all

         of the inaccurate information from Plaintiff’s credit reports and files and

         cease reporting the inaccurate information to any and all persons and entities

         to whom they report consumer credit information; and

   e)    That the Court grant such further and additional relief as is just in the

         circumstances.

   DATED this 7     day of October, 2011.


                              NELSON, SNUFFER, DAHLE & POULSEN, P.C.


                              s/ Denver C. Snuffer, Jr.


                              Denver C. Snuffer, Jr. (3032)
                              Jesse Riddle (6640)




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